           Case 1:12-cr-00342-DAD-BAM Document 73 Filed 05/10/13 Page 1 of 3


 1   DAVID A. TORRES AND ASSOCIATES
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 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (6610326-0857
     Fax: (661)326-0936
 4   Email: lawtorres@aol.com
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 7

 8
                                                   )    Case No.: Case No.1:12-CR-00342AWI-BAM
     UNITED STATES OF AMERICA,                     )
 9
                                                   )
                   Plaintiff,                      )    STIPULATION AND ORDER TO
10
                                                   )    WITHDRAW MOTION TO COMPEL
            vs.                                    )    DISCOVERY
11
                                                   )
     THOUNETHEPMITH VONGSENEKEO,                   )
12
                                                   )
                   Defendant                       )
13
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
14
     ANTHOBY W. ISHII AND KAREN ESCOBAR, ASSISTANT UNITED STATES
15
     ATTORNEY:
16
            COMES NOW Defendant, THOUNETHEPMITH VONGSENEKEO, by and through
17
     his attorney of record, DAVID A. TORRES hereby requesting that the Motion Hearing currently
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     set for Monday, May 13, 2013 be vacated.
19
            I have been in communication with AUSA Karen Escobar regarding the Motion to
20
     Compel Discovery (Docket No. 61), and agree that said motion is unnecessary. This is a mutual
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     agreement between all myself and all co-counsel.
22
     //
23
     //
24
     //
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                                      Summary of Pleading - 1
                           Case 1:12-cr-00342-DAD-BAM Document 73 Filed 05/10/13 Page 2 of 3


 1                          IT IS SO STIPULATED.

 2                                                                       Respectfully Submitted,

 3   DATED: May 9, 2013                                                  /s/ David A Torres      ___
                                                                         DAVID A. TORRES
 4                                                                       Attorney for Defendant
                                                                         Thounethepmith Vongsenekeo
 5

 6
     DATED: May 9, 2013                                                  /s/ Katherine Hart_________
 7                                                                       KATHERINE HART
                                                                         Attorney for Defendant
 8                                                                       SAM KOUNHAVONG

 9   DATED: May 9, 2013                                                  /s/Daniel Harralson________
                                                                         DANIEL HARRALSON
10                                                                       Attorney for Defendant
                                                                         Sengphachanh Boungnavong
11

12
     DATED: May 9, 2013                                                  /s/James Homola__________
                                                                         JAMES R. HOMOLA
13                                                                       Attorney for Defendant
                                                                         Symery Saykganya
14

15   DATED: May 9, 2013                                                  /s/Karen Escobar ________
                                                                         KAREN ESCOBAR
16                                                                       Assistant U.S. Attorney
17

18                                                         ORDER

19
                           IT IS SO ORDERED that the Motion hearing set for Monday, May 13, 2013 be
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     VACATED, but the Status Conference will remain on Calendar at 10:00 a.m.
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24   IT IS SO ORDERED.

25   Dated: May 9, 2013
     DEAC_Signature-END:
                                                           SENIOR DISTRICT JUDGE




                                                  Summary of Pleading - 2
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                               Summary of Pleading - 3
